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                EXHIBIT A
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Discussion with Rick Ferguson on his role and recent behavior
Date: Tuesday, 9/11/18, 2pm
Attendees: Jeff Calder, Chris Williams, Mara Crain, Rick Ferguson (called in rather than attending in
person), Hal Dunning (on phone) and Bill Peartree (on phone)

    •   Rick was expected to be in Walnut Creek for the discussion, but ended up calling in, which was a
        surprise to the other attendees. It was decided to continue the call, despite the change.

    •   Jeff opened the meeting requesting that Rick share his recently discussed concerns with all
        present.
             o Rick expressed that there had been some miscommunications in the past.
                     He had hoped to come to the Bay Area and help build the business.
                     His goal was to build the book to $1M, with the hope to get another hire on
                        board.
                     He was in a hybrid sales/service role, but was recently informed that his book
                        was being given to Jeff Stephens and he would only be in service.

    •   After Rick wrapped up his thoughts, Hal chimed in to check with Rick that these were his only
        concerns, due to Rick’s recent use of the word “discrimination” in emails and communication to
        other team members.
            o Hal noted he wondered “where are you at today?” as Rick had recently shown “deep
                dissatisfaction represented in recent emails”
            o Rick responded with “what do you mean where am I at today?”
            o Hal clarified that the recent email from Rick regarding his expense report not being
                approved in a timely manner seemed unreasonable. Rick was paid within 2 weeks from
                the report submittal date and most companies would be lucky to turn around such
                payment that soon.
            o Rick added that he didn’t want to get into the past and that this wasn’t an appropriate
                forum to get into his thoughts on this.
            o Mara chimed in noting that her role in the meeting was to hear both sides and ensure
                that any serious concerns Rick had were addressed, so it was certainly an appropriate
                forum for such thoughts from Rick.
            o Rick spoke of past occurrences when Bill had not approved his expense report in a
                timely fashion.
            o Bill feels that he had approved Rick’s expense reports within 3 days when he saw them
                come through, but there may be a chance that some were passed on to other approvers
                and he was unaware.
            o Rick specified that most of his expense report result in him seeing numerous email alerts
                regarding the slow/lack of approval from Bill.
            o We decided to move the Concur approver for Rick from Bill Peartree to Jeff Calder.
                Mara will ensure this change occurs.
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        o   Hal tried a couple of additional times to inquire if there was anything else bothering him
            and nothing was brought to our attention.
        o   No other details were given by Rick about whether or not or how he felt discriminated
            against.

•   Rick changed the direction of the conversation and said “I just don’t know where I stand with
    this company.”
         o Jeff responded by providing the following:
                  “We feel you are a great cultural fit. Clients love you. The Bay Area is better
                    with you than without you.”
                  We have you in a service role, versus a sales or hybrid role, but are offering you
                    an increase in pay. Details were provided to Rick for consideration.
                        • Salary increased from $110,000 to $125,000.
                        • Compensation package includes 25% for business referrals and a bonus
                            plan of 12%.
         o Hal added that we see a career path for him which could eventually lead to the OSJ role
            for the Bay Area.
         o Bill questioned “what do you think about it?”
         o Rick responded saying “thank you for being clear. I will absorb the information and get
            back to you.”

•   Jeff them moved to speak to Rick behavior and explained that his reactionary language and
    behavior could not happen again.
         o Rick said that role clarity was essential for his anger to be curbed.
         o Hal added that he hoped Rick is excited about the opportunity; he wants him to be a
            part of the family.
         o Bill chimed in providing that he was confused why Rick was unclear on the role,
            especially due to past communication from both side. For example, Rick shared in an
            email in 2014 that he did not want to be in sales, so service was the path Bill and Jeff
            thought he wanted.
         o Rick wrapped up the conversation with “thank you for the insights. I need time to think
            about the proposal and determine what is best for me.”

•   Call ended
